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Attorneys for State of Montana and
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Proposed Intervenors

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

CENTER FOR BIOLOGICAL
DIVERSITY, et al.,

Plaintiffs,

WESTERN WATERSHEDS PROJECT,
et al.,

Consolidated Plaintiffs,
ANIMAL WELLNESS ACTION, et al.,
Consolidated Plaintiffs,
Vs.

UNITED STATES FISH AND
WILDLIFE SERVICE, et al.,

Defendants,

SPORTSMEN’S ALLIANCE
FOUNDATION, et al.,

Lead Case
CV 24-86-M-DWM

Member Case
CV-24-87-M-DWM
CV-24-97-M-DWM

UNOPPOSED MOTION TO
INTERVENE AS A DEFENDANT
BY STATE OF MONTANA AND
MONTANA DEPARTMENT OF

FISH, WILDLIFE AND PARKS

UNOPPOSED MOTION TO INTERVENE AS A DEFENDANT BY
STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS-1
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Defendant-Intervenors.

STATE OF MONTANA and
MONTANA DEPARTMENT OF FISH,
WILDLIFE AND PARKS,

Defendant-Intervenors Applicants.

Pursuant to Fed. R. Civ. P. 24(a) and this Court’s Local Rule 24.1, the State
of Montana and Montana Fish, Wildlife and Parks (together, “Montana”), hereby
request that this Court grant leave to intervene as a matter of right as Defendants in
the above-captioned case. Alternatively, Montana requests this Court for leave to
intervene by permission as Defendants, pursuant to Fed. R. Civ. P. 24(b).

As grounds for this motion, Montana states:

1. Montana meets the requirements for intervention as a matter of right under
Fed. R. Civ. P. 24(a)(2), as more fully set forth in the brief in support that
accompanies this motion.

2. Montana alternatively meets the requirements for permissive intervention
under Fed. R. Civ. P. 24(b), as more fully set forth in the brief in support that
accompanies this motion.

3. This motion is timely filed, as required by Fed. R. Civ. P. 24, and as more

fully set forth in the brief in support that accompanies this motion.

UNOPPOSED MOTION TO INTERVENE AS A DEFENDANT BY
STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS-2
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4. This motion is being served on all the parties, as provided for in Fed. R. Civ.

P. 5, and as required by Fed. R. Civ. P. 24(c).

5. This motion is accompanied by a proposed answer that sets forth the

defenses for which intervention is sought, as required by Fed. R. Civ. P.

24(c).

6. This motion is accompanied by a proposed order for intervention, as
required by this Court’s Local Rule 7.1(c)(3).

Counsel for Montana discussed Montana’s proposed intervention with
counsel for all parties. Plaintiffs Center for Biological Diversity, et al., do not
oppose intervention, granted Montana briefing be subject to the word limitations in
Local Rule 7.1(d)(2). Consolidated Plaintiffs Western Watersheds Project, et al.,
do not take a position on Montana’s motion to intervene. Consolidated Plaintiffs
Animal Wellness Action, et al., take no position on Montana’s motion to intervene.
The Defendants take no position on Montana’s motion to intervene. Lastly, the
Defendant-Intervenors do not oppose Montana’s motion to intervene. Accordingly,
this motion is unopposed.

RESPECTFULLY SUBMITTED this 24th day of September, 2024.
!s/ Alexander R._ Scolavino III

Alexander R. Scolavino III
Agency Legal Counsel

Jeffrey M. Hindoien
Chief Legal Counsel

UNOPPOSED MOTION TO INTERVENE AS A DEFENDANT BY
STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS-3
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CERTIFICATE OF SERVICE

I, the undersigned, of Montana Fish, Wildlife and Parks, Attorneys for Proposed
Intervenor, hereby certify that on September 25, 2024, a copy of the foregoing document was
served via email delivery on the following persons:

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Defense, Trap Free Montana, Protect the Wolves

UNOPPOSED MOTION TO INTERVENE AS A DEFENDANT BY
STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS-4
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UNOPPOSED MOTION TO INTERVENE AS A DEFENDANT BY
STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS-S
10.

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By: /s/ Alexander R. Scolavino III
Alexander R. Scolavino III
Agency Legal Counsel

UNOPPOSED MOTION TO INTERVENE AS A DEFENDANT BY
STATE OF MONTANA AND MONTANA DEPARTMENT OF FISH, WILDLIFE AND PARKS-6
